              Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 1 of 17


                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

-----------------------------------------------------X
                                                     I
ASLI UYAR                                            I   CIVIL ACTION NO.:
      Plaintiff                                      I
                                                     I
vs.                                                  I   JURY TRIAL REQUESTED
                                                     I
EMRE SELl and YALE UNIVERSITY                        I   FEBRUARY 5, 2016
    Defendants                                       I
                                                     I
-----------------------------------------------------X
                                                 COMPLAINT

         1.      This is an action to address sexual harassment and sex discrimination in

violation of the Title VII of the Civil Rights Act of 1967, discrimination in violation of Title IX,

as well as violations of the common law of the State of Connecticut.

        2.       At all times set forth herein, the Plaintiff, Asli Uyar, was a resident of the

Town of Branford, State of Connecticut.

        3.       Yale University ("Defendant Yale") is a specially chartered non-profit

corporation located in New Haven, Connecticut.

        4.       Plaintiff is a national of the country of Turkey.

        5.       Plaintiff holds a Ph.D. in Computer Science.

        6.       In August of 2011, Plaintiff was hired by Defendant Yale for the position of

post-doctoral fellow in its School of Medicine's Department of Obstetrics, Gynecology,

and Reproductive Sciences doing research in the area of early embryo genetics.

        7.       In this position Plaintiff was supervised by Dr, Emre Seli ("Defendant

Seli''), Professor of Obstetrics, Gynecology and Reproductive services, who ran the lab

where Plaintiff was performing her research.
             Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 2 of 17



        8.       In Plaintiff's position with Defendant Yale, Defendant Seli held almost total

control over her in that her salary, and therefore her job itself, were dependent on grant

money obtained by Dr. Seli. Should Dr. Seli decide not to continue to fund Plaintiff's

position, Plaintiff would lose her job.

        9.       Additionally, to continue to advance in her field, Plaintiff was dependent on

positive recommendations from Defendant Seli to obtain other positions or to publish in

academic journals.

       10.       Moreover, in that Plaintiff's visa to work in the United States was

dependent upon maintaining her employment with Defendant Yale, should Defendant

Seli choose to discontinue Plaintiff's position, Plaintiff could potentially be forced to

leave the country.

       11.      In or around the summer of 2012, Defendant Seli, who is married, began

to pursue a romantic relationship with Plaintiff.

       12.      Though Plaintiff was initially resistant to Defendant Seli's advances, in

September of 2012, Plaintiff began to engage in a romantic and sexual relationship with

Defendant Seli.

       13.      On multiple occasions during the ensuing sexual relationship, Plaintiff

attempted to end things with Defendant Seli.

       14.      On each occasion when Plaintiff attempted to break off the relationship, he

coerced Plaintiff into staying in the relationship by threatening that Plaintiff would lose

her job or that it would impossible for her to continue working with him at Defendant

Yale if Plaintiff ended the relationship.




                                              2
         Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 3 of 17



       15.      These threats always persuaded Plaintiff to remain in a relationship with

Defendant Seli because not only was he threatening Plaintiff's job, but he was also

threatening her ability to remain in the United States.

       16.      In approximately March or April of 2014, Plaintiff attempted to end the

relationship once again. Defendant Seli responded by again referring to the fact that he

would not be able to continue to work with Plaintiff. Out of fear that she would be

terminated if she broke off the relationship, Plaintiff went so far as to begin looking for

another position.

       17.      Despite Plaintiff's efforts to end the relationship,      she feared the

consequences of doing so, and as a result, her relationship with Defendant Seli

relationship continued until May 31, 2014.

       18.      On that date, Defendant Seli's wife discovered the relationship between

him and Plaintiff.

       19.      Defendant Seli was afraid of the effect that the relationship could have on

his career, and as a result, Defendant Seli immediately set out to end Plaintiff's

employment with Defendant Yale.

       20.    On June 1, 2014, the next day after his wife learned about the

relationship, he sent an email to the Business Manager for the Department of

Obstetrics, Gynecology, and Reproductive Sciences in which he claimed that Plaintiff's

research "did not look promising for next year and I think we may not renew her

appointment."

       21.    Also on June 1, 2014, Defendant Seli abruptly cancelled Plaintiff's major

research project.




                                             3
         Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 4 of 17


       22.     This was particularly damaging to Plaintiff's professional reputation, as

post-doctorate fellows are expected to produce a major research project and

publication, and failure to do so would be fatal to Plaintiff's further career prospects in

academia.

       23.     Defendant Seli threatened Plaintiff by stating that if she went to work,

other employees, Plaintiff's family, or her friend would find out about the relationship

and that her reputation would be ruined because she would be perceived as sexually

promiscuous.

       24.     Defendant Seli forwarded emails in which he had suggested Plaintiff's

fellowship would not be renewed and in which he had cancelled her research project to

his wife, even though his wife had no professional involvement with the Plaintiff and no

legitimate business reason for being included on those email.

       25.     Also on June 1, 2014, Defendant Seli cancelled Plaintiff's flight and

registration at a professional conference she was scheduled to attend on behalf of the

Department of Obstetrics, Gynecology, and Reproductive Sciences.

       26.     Also on June 1, 2014, even though Plaintiff's appointment had not ended

and she was still employed by Defendant Yale, Defendant Seli requested that Plaintiff

not return to the research laboratory.

      27.      Defendant Seli threatened Plaintiff by stating that if she went to work,

other employees, Plaintiff's family, or her friend would find out about the relationship

and that her reputation would be ruined because she would be perceived as sexually

promiscuous, immoral, or unethical.




                                           4
             Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 5 of 17



         28.     Defendant Seli further threatened Plaintiff by claiming that she had

falsified my curriculum vitae and suggested that if she did not go away he would

disclose this information and ruin Plaintiff's academic career.

         29.     This threat was particularly egregious, as I had previously changed my

curriculum vitae at his suggestion to remove an assistant professor position that I had

held in Turkey so that I could qualify for my position at Yale.

         30.     Afraid of Defendant Seli and his threats, Plaintiff initially complied with his

directive.

         31.     On June 18, 2014, Plaintiff was sent an email by Defendant Yale

indicating that her position with          Department of Obstetrics,        Gynecology,     and

Reproductive Sciences would expire on August 18, 2014.

        32.      On June 24, 2104, Plaintiff went to her Department Chair, Hugh Taylor,

and reported the relationship and that she had been threatened by Defendant Seli not to

return to work.

        33.      In response to Plaintiff's complaint, Dr. Taylor returned Plaintiff to work

immediately.

        34.      When Plaintiff returned to work, Defendant Seli's demeanor toward her

changed and he became cold, hostile, and threatening whenever he interacted with

Plaintiff.

        35.      For example, he would meet with all of the research staff and specifically

exclude Plaintiff from those meetings and otherwise took steps to prevent Plaintiff's

involvement in ongoing research projects.




                                                5
           Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 6 of 17



          36.   Defendant Seli went so far as to schedule his wife, who is also a

physician, to attend a conference where Plaintiff was previously scheduled to be a

presenter in the hope that Plaintiff would be intimidated and choose not to attend the

conference.

          37.   As a consequence of Defendant Seli's affirmative attempts to separate

Plaintiff from her employment with Defendant Yale, Plaintiff was placed in great fear for

her professional reputation, as well as her ability to remain and work in the United

States.

       38.      Plaintiff was therefore forced to look for a new job. Due to the time

constraints involved, Plaintiff was forced to accept a less prestigious position than the

one she held with Defendant Yale.

       39.      Subsequent to Plaintiff's constructive discharge from Defendant Yale,

Plaintiff was contacted by Defendant Seli on several occasions, the last time occurring

on February 14, 2015, wherein he threatened Plaintiff with litigation if she attempted to

pursue any type of sexual harassment claim or if she did not forget the relationship and

not speak about it ever again.

       40.      Also subsequent to Plaintiff's constructive discharge from Defendant Yale,

Plaintiff was prevented from accessing, communicating about, or having any role in

ongoing research projects she had started, causing significant damage to her

professional reputation.

       41.      Also subsequent to Plaintiff's constructive discharge from Defendant Yale,

it published multiple articles concerning research Plaintiff had been involved in, without

crediting Plaintiff or acknowledging her contributions.




                                             6
             Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 7 of 17



COUNT ONE:              Sex Discrimination in violation of Title VII (Yale University)

        1.       The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this First Count as if fully set forth herein.

       42.       The Defendant discriminated against the Plaintiff and ultimately terminate

Plaintiff's employment because of her sex I gender, in violation of Title VII.

       43.       As a result of the foregoing unlawful conduct of the Defendant, the Plaintiff

was denied the opportunity of gainful employment. As such, the Plaintiff has suffered a

substantial loss of income, health benefits, and retirement benefits and will continue to

suffer same all to his loss and detriment.

       44.      As a further result of the foregoing unlawful conduct, the Plaintiff has

incurred attorney's fees and costs in order to obtain the right to which she is entitled.

       45.      Plaintiff filed a timely administrative complaint with the Equal Employment

Opportunities Commission and received a Right to Sue Letter on December 1, 2015,

which is attached hereto as Exhibit A.

COUNT TWO:             Quid pro quo sexual harassment in violation of Title VII (Yale
                       University)

       1.       The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Second Count as if fully set forth herein.

       42.      The defendant made decisions regarding the Plaintiff's employment based

on her submission to or rejection of unwelcome sexual conduct.

       43.      As a result of the foregoing unlawful conduct of the Defendant, the Plaintiff

was denied the opportunity of gainful employment. As such, the Plaintiff has suffered a

substantial loss of income, health benefits, and retirement benefits and will continue to

suffer same all to his loss and detriment.



                                              7
         Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 8 of 17



       44.     As a further result of the foregoing unlawful conduct, the Plaintiff has

incurred attorney's fees and costs in order to obtain the right to which she is entitled.

       45.     Plaintiff filed a timely administrative complaint with the Equal Employment

Opportunities Commission and received a Right to Sue Letter on December 1, 2015,

which is attached hereto as Exhibit A

COUNT THREE:          Retaliation in violation of Title VII (Yale University)

       1.     The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Second Count as if fully set forth herein.

       42.    The Plaintiff opposed the foregoing unlawful conduct of the Defendant, as

set forth above.

       43.    The Defendant retaliated against the Plaintiff based on her opposition to

the foregoing unlawful conduct, inter alia, terminating her employment.

       44.    As a result of the foregoing unlawful conduct of the Defendant, the Plaintiff

was denied the opportunity of gainful employment. As such, the Plaintiff has suffered a

substantial loss of income, health benefits, and retirement benefits and will continue to

suffer same all to his loss and detriment.

       45.    As a further result of the foregoing unlawful conduct, the Plaintiff has

incurred attorney's fees and costs in order to obtain the right to which she is entitled.

       46.    Plaintiff filed a timely administrative complaint with the Equal Employment

Opportunities Commission and received a Right to Sue Letter on December 1, 2015,

which is attached hereto as Exhibit A




                                               8
            Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 9 of 17



COUNT FOUR:            Sexual harassment in violation of Title IX of the Educational
                       Amendments of 1972, 20 u.s.c. §1681 et seq. (Yale University)

        1.      The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Fourth Count as if fully set forth herein.

        42.     Defendant Yale is a recipient of Federal education funds, such as, inter

alia, federal student loan funds, and as such, it is subject to the requirements of Title IX

of the Educational Amendments of 1972.

       43.      Defendant Yale knew, or was deliberately indifferent to, the foregoing

conduct of Defendant Seli toward Plaintiff, which constitutes sexual harassment and

quid pro quo sexual harassment, in that Plaintiff reported Defendant Seli's behavior to

Defendant Yale.

       44.      Defendant Yale was aware of the need to intervene and protect Plaintiff

from Defendant Seli's ongoing harassment of the Plaintiff, yet it failed to do same.

       45.      Plaintiff was subject to continued sexuai harassment due to Defendant

Yale's deliberate indifference to a known risk of sexual harassment.

       47.      As a result of the foregoing unlawful conduct of the Defendant, the Plaintiff

was denied the opportunity of gainful employment. As such, the Plaintiff has suffered a

substantial loss of income, health benefits, and retirement benefits and will continue to

suffer same all to his loss and detriment.

       48.      As a further result of the foregoing unlawful conduct, the Plaintiff has

incurred attorney's fees and costs in order to obtain the right to which he is entitled.

COUNT FIVE- Tortious Interference with Business Expectancy (Emre Seli)

       1.      The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Fifth Count as if fully set forth herein.



                                               9
        Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 10 of 17


       42.     Defendant Seli intentionally interfered with the business relationship

between the Plaintiff and Defendant Yale by making numerous false and defamatory

statements about the Plaintiff and her work, as set forth above, and also by threatening

her, intimidating her, and retaliating against her, as set forth above.

       43.     As a result of Defendant Seli's actions, the Plaintiff was forced to leave

her position with Defendant Yale and obtain a less prestigious and financially rewarding

position elsewhere.

       44.    As a further result of Defendant Seli's actions, the Plaintiff was excluded

from research projects she was involved in, damaging her professional reputation and

future career prospects.

COUNT SIX- Defamation (Emre Seli)

       1.     The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Sixth Count as if fully set forth herein.

       42.    Defendant Seli made numerous intentionally false statements about the

Plaintiff and her work, as set forth above.

       43.    Defendant Seli knew that these statements were false, and made them for

the express purpose of damaging the Plaintiff's career, separating her employment from

Defendant Yale, and otherwise causing harm to the Plaintiff's character and reputation.

       44.    As a result of Defendant Seli's false statements about the Plaintiff, her

reputation and career were damaged.

COUNT SEVEN - Negligent Infliction of Emotional Distress (Emre Seli)

       1.     The Plaintiff repeats and re-a lieges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Sixth Count as if fully set forth herein.




                                              10
           Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 11 of 17



         42.   Defendant Seli made numerous intentionally false statements about the

Plaintiff and her work, as set forth above, and otherwise engaged in the foregoing

unreasonable conduct.

         43.   Defendant Seli actions, as aforesaid, created an unreasonable and

foreseeable risk of causing the Plaintiff emotional distress which might result in illness

or bodily harm.

         44.   The Plaintiff did suffer emotional distress including, inter alia, stress,

anxiety, embarrassment, shame, humiliation, fearfulness, and loss of self-worth.

COUNT EIGHT- Invasion of Privacy- Unreasonable Publicity (Emre Seli)

         1.    The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Eighth Count as if fully set forth herein.

         42.   Defendant Seli shared       private details of Plaintiff's personal       and

professional life with others, including his wife, as set forth above.

         43.   The persons with whom Defendant Seli shared                Plaintiff's private

information with persons who had no legitimate reason for knowing this information.

         44.   As a result of Defendant Seli's actions, Plaintiff suffered damage to her

career, separation of her employment from Defendant Yale, and otherwise suffered

harm to her character and reputation.

         45.   As a result of the foregoing actions of Defendant Seli, the Plaintiff suffered

emotional distress including, inter alia, stress, anxiety, fearfulness, and loss of self-

worth.

COUNT NINE - Invasion of Privacy- False Light (Emre Seli)




                                             11
         Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 12 of 17



        1.      The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Ninth Count as if fully set forth herein.

        42.     Defendant Seli shared private information about the Plaintiff with others,

including his wife, as set forth above, the purpose and effect of which was to place the

Plaintiff in a false light.

        43.     As a result of Defendant Seli's actions, Plaintiff suffered damage to her

Plaintiff's, separation of her employment from Defendant Yale, and otherwise suffered

harm to her character and reputation.

        44.     As a further result of the foregoing actions of Defendant Seli, the Plaintiff

suffered emotional distress including, inter alia, stress, anxiety, fearfulness, and loss of

self-worth.

COUNT TEN- Negligent Supervision (Yale University)

        1.      The Plaintiff repeats and re-alleges Paragraphs 1 through 41 above as

Paragraphs 1 through 41 of this Ninth Count as if fully set forth herein.

       42.      Defendant Yale had a number of policies in place to supervise its

employees and that prohibited the aforesaid actions of Defendant Seli.

       43.      Defendant Yale failed to supervise Defendant Seli in accordance with its

own policies.

       44.      Had Defendant Yale exercised reasonable care and supervised Defendant

Seli in accordance with its own policies, it could and would have discovered Defendant

Seli's violation of its policies.

       45.      Defendant Yale's failure to supervise Defendant Seli in accordance with its

own policies subjected Plaintiff to the foregoing actions of Defendant Seli.




                                             12
        Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 13 of 17


       46.    As a result of Defendant Yale's failure to supervise Defendant Seli,

Plaintiff suffered damage to her career, separation of her employment from Defendant

Yale, and otherwise suffered harm to her character and reputation.

       47.    As a further result of the foregoing actions of Defendant Seli, the Plaintiff

suffered emotional distress including, inter alia, stress, anxiety, fearfulness, and loss of

self-worth.




                                           13
        Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 14 of 17


WHEREFORE, the Plaintiff prays for the following relief:

       1.     Monetary damages;

       2.     Punitive damages;

       3.     Costs and reasonable attorney's fees incurred in connection with this

              action;

      4.      Such additional or alternative relief as may appear to the Court to be just

             and equitable.


                                                       THE PLAINTIFF,
                                                       ASLI UYAR


                                                       BY: -------------------
                                                       Michael J. Reilly (ct28651)
                                                       CICCHIELLO & CICCHIELLO, LLP
                                                       364 Franklin Avenue
                                                       Hartford, CT 06114
                                                       Tel: (860) 296-3457
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                                                       mreilly@cicchielloesq .com




                                           14
          Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 15 of 17



                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

-----------------------------------------------------X
                                                     I
ASLIUYAR                                             I        CIVIL ACTION NO.:
     Plaintiff                                       I
                                                     I
vs.                                                  I        JURY TRIAL REQUESTED
                                                     I
EMRE SELl and YALE UNIVERSITY                        I        JANUARY 29, 2016
    Defendants                                       I
                                                     I
-----------------------------------------------------X
                                  REQUEST FOR A TRIAL BY JURY

         Plaintiff hereby requests a trial by jury in this matter.

                                                                   THE PLAINTIFF,
                                                                   ASLI UYAR


                                                                   BY:
                                                                        ------------------
                                                                   Michael J. Reilly (ct28651)
                                                                   CICCHIELLO & CICCHIELLO, LLP
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                                                         15
Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 16 of 17




                          EXHIBIT A




                             16
                        Case 3:16-cv-00186-VLB Document 1 Filed 02/05/16 Page 17 of 17
  EEOC Form 161-B (11/09)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (/$SUED ON REQUEST)

 To:    Asli Uyar                                                                         From:    Boston Area Office
        254 Monticello Drive                                                                       John F. Kennedy Fed Bldg
        Branford, CT 06405                                                                         Government Ctr, Room 475
                                                                                                   Boston, MA 02203




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601. 7(a))

 EEOC Charge No.                                         EEOC Representative                                               Telephone No.

                                                         Anne R. Giantonio,
 16A-2015-00982                                          Intake Supervisor
                                                                 .         .
                                                                                                                           (617) 565-3189
                                                                                       (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (AOA), or the Genetic lnformlltion Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your tight to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       m          More thari 180 days have paSsed since the filing of this charge.

       0          Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the    E~OC will
                  be able to complete its administrative processing within 180 days frbm the filing of this charge.
       [!]       The EEOC Is terminating its processing of this charge.

       0         The EEOC will continue to process this charge ..

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action 011 the charge. In this iegard, the paragraph inllrked below applies to
your case:

       D         The EEOC is closing yout case. Therefore, your lawsuit under the AbEA must be filed in federal o~ state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       D         The E~OC .is continuing Its handling of your ADEA case. However, If 60 days have passed since the filing of the charge,
                 you may file suit In federal or state court under the ADEA at this time.

i=qual Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office .



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                                                                       .

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Enclosures(s)                                                                  Feng K. An,                                      (Date Mailed)
                                                                           Area Office Director

cc:

              YALE SCHOOL OF MEDICINE                                                    Cicchiello & Cicchiello, LL.P.
              333 Cedar Street                                                           Attorneys at Law
              New Haven, CT 06510                                                        364 Franklin Avenue
                                                                                         Hartford, CT 06114
